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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a New Mexico
limited liability company,

       Plaintiff,

vs.                                                  Case Number: 1:12-cv-00758-JAP-ACT

TESLA MOTORS, INC., a Delaware
corporation,

       Defendant.


                                CERTIFICATE OF SERVICE

       Pursuant to D.N.M. LR-Civ. 26.2, the undersigned certifies that on the 29th day of

November, 2012, Defendant Tesla Motors, Inc. mailed the original and one copy of the

following documents:

       1.      Defendant Tesla Motors, Inc.’s First Set of Interrogatories to Plaintiff; and

       2.      Defendant Tesla Motors, Inc.’s First Set of Requests for Production to Plaintiff

to the following counsel of record:

                       Christopher M. Pacheco
                       LeeAnn Werbelow
                       Lastrapes, Spangler & Pacheco, P.A.
                       P.O. Box 15698
                       Rio Rancho, NM 87174
       Case 1:12-cv-00758-JAP-ACT Document 20 Filed 11/29/12 Page 2 of 2



                                       RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

                                       By:   “Electronically Filed” /s/ Andrew G. Schultz   .
                                               Andrew G. Schultz
                                               Nicholas Sydow
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                                                      nsydow@rodey.com

                                       Attorneys for Defendant Tesla Motors, Inc.




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on November 29 , 2012, the foregoing Certificate

of Service was electronically filed with the Clerk of Court using the CM/ECF system that will

send notification of such filing to all counsel of record:

       Christopher M. Pacheco
       LeeAnn Werbelow
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RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.


By     /s/ Andrew G Schultz                              .
       Andrew G. Schultz




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